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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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 Atlas Master Fund, Ltd., et al                                     Case No. 1:16-cv-05475
                                            Plaintiff,

           -against-
 American Realty Capital
 Properties, Inc. et al.                     Defendant.
---------------------------------------------------------
                                                NOTICE OF CHANGE OF ADDRESS

TO:        ATTORNEY SERVICES CLERK AND ALL OTHER PARTIES


9
✔          I have cases pending                                     9        I have no cases pending

Pursuant to Local Rule 1.3 of this Court, please take notice of the following attorney information change (s) for:


                                   Lawrence M. Rolnick
                                 _________________________________________________
                                        FILL IN ATTORNEY NAME

                       LR0546
My SDNY Bar Number is:_________________                         2024784
                                        My State Bar Number is ______________

I am,
           9✔          An attorney
           9           A Government Agency attorney
           9           A Pro Hac Vice attorney

FIRM INFORMATION (Include full name of firm (OLD AND NEW ), address, telephone number and fax number):

OLD FIRM:              FIRM         Lowenstein Sandler LLP
                              NAME:_______________________________________________
                       FIRM            65 Livingston Avenue, Roseland, NJ 07068
                              ADDRESS:____________________________________________
                       FIRM                         973-597-2500
                              TELEPHONE NUMBER:________________________________
                       FIRM                 973-597-2400
                              FAX NUMBER:________________________________________

NEW FIRM:              FIRM         Lowenstein Sandler LLP
                              NAME:_______________________________________________
                       FIRM            1251 Avenue of the Americas, NY, NY 10020
                              ADDRESS:____________________________________________
                       FIRM                         212-262-6700
                              TELEPHONE NUMBER:________________________________
                       FIRM                212-262-7402
                              FAX NUMBER:________________________________________

           ✔
           9           I will continue to be counsel of record on the above-entitled case at my new firm/agency.


           9           I am no longer counsel of record on the above-entitled case. An order withdrawing my appearance
                       was entered on ______________ by Judge_________________________.


Dated: 9/7/2017                                            /s/ Lawrence M. Rolnick
                                                           ____________________________
                                                           ATTORNEY’S SIGNATURE
